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            EXHIBIT 2
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Google, Inc.
1600 Amphitheatre Parkway
Mountain View, CA 94043
650-623-4000

                  Google Advertising Service Agreement

Customer
AdTradr Corporation
95 Model Avenue
Hopewell, NJ 08525
United States




Billing Customer Number: 5673-9405-7232

Customer Contact: Dobromir Kamburov
                  dobromir.kamburov@gmail.com


Customer will promptly notify Google of any changes in address and contact information by sending a
notice to their Google Contact including their Account and Agreement ID.



Agreement Name: Doubleclick Ad Exchange Master Service Agreement

Agreement ID: 403606733824313

Product: AdExchange

Billing Method: Monthly Invoicing

Payment Terms (Payment due within the following number of days from invoice date): 30



Customer is solely responsible for all activity in connection with Customer’s billing account and any
account that is linked with it (including, without limitation, all activity relating to the creation,
modification, maintenance, and management of all accounts and budgets) regardless of whether such
activity is performed by or on behalf of Customer.
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This Service Agreement will be governed by the Google DoubleClick Ad Exchange
Program Terms ("Terms and Conditions") available at the following URL during the
date(s) that the Ads under this Service Agreement are running:

                         http://www.google.com/adxbuyer/terms

Any capitalized terms not defined in this Service Agreement have the meanings assigned
to them in the Terms and Conditions.

BILLING TERMS

1) Google may, in its sole discretion, extend, revise or revoke credit for any Customer at
any time.

2) Customer will be billed at the end of each month and must remit all payments under
this Service Agreement to Google in accordance with the “Payment Terms” indicated on
the first page of this Service Agreement.

           [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]
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 If you are accepting, or have accepted this Service Agreement online, please ignore the signature block
                                                  below.


If you are faxing this Service Agreement to Google, please review, sign, and return to:



Customer Signature



Company: AdTradr Corporation



Name: ____________________________________



Title: _____________________________________



Signature: _________________________________



Date: _____________________________________




Google Signature




This Service Agreement will be effective as of the date stamped by Google above.
